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                                                Docket No. 23-4509

                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

        United States of America ...............................................................Plaintiff-Appellee,
                                                            v.

        Russell Lucius Laffitte .............................................................. Defendant-Appellant.

                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA,
               BEAUFORT DIVISION, RICHARD M. GERGEL, DISTRICT JUDGE


                                          JOINT STATUS REPORT


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              Defendant-Appellant Russell Lucius Laffitte (“Laffitte”) and Plaintiff-

        Appellee United States of America (“the government”) jointly provide this status

        report to this Court regarding the status of Laffitte’s reporting date to the Bureau of

        Prisons.

              On August 8, 2023, Laffitte notified the district court of his intention to

        appeal. Dkt. 319. On August 14, 2023, Laffitte filed a Motion for Release Pending

        Appeal with this Court. Docket # 23-4509, ECF No. 12. On August 25, 2023, the

        government filed its Response in Opposition. Docket # 23-4509, ECF No. 25. Two

        business days later, on August 29, 2023, Laffitte filed his Reply to the government’s

        Response. Docket # 23-4509, ECF No. 33. As of the time of this filing, this Court

        has not yet issued an Order on the Motion for Release Pending Appeal.

              On August 18, 2023, Laffitte was notified that he must report to a Bureau of

        Prisons facility in Sumterville, Florida by September 14, 2023 at 12 p.m. 1 On

        August 21, 2023, Laffitte filed an initial motion for an extension of his reporting

        deadline with the district court, a motion to which the government consented.

        Dkt. 324, attached as Exhibit A. Shortly thereafter, the district court granted that

        Motion and extended Laffitte’s reporting deadline until September 21, 2023.

        Dkt. 325, attached as Exhibit B. The same day, the government notified this Court



        1
           The facility is over five hours away from Laffitte’s residence, so travel
        arrangements must be made ahead of time.

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        that Laffitte’s reporting date had been extended to September 21, 2023. Docket # 23-

        4509, ECF No. 19 at 2.

              As this new reporting deadline was approaching, Laffitte filed a second

        motion for extension of his reporting deadline (Dkt. 331, attached as Exhibit C).

        The district court directed the government to respond (Dkt. 332, attached as

        Exhibit D) and, in it’s response, the government indicated it did not object

        (Dkt. 333, attached as Exhibit E). Following a telephonic status conference on the

        second motion on September 20, 2023, the district court granted a one-week

        extension for Laffitte to report to the Bureau of Prisons until September 28, 2023 at

        12 p.m. Dkt. 335, attached as Exhibit F. The district court stated that “[n]o further

        extension will be granted.” Id.




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         Dated: September 25, 2023           Respectfully submitted,


         ADAIR F. BOROUGHS                   /s/ William W. Wilkins
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                             CERTIFICATE OF COMPLIANCE

              As required by Rule 32(g)(1) of the Federal Rules of Appellate Procedure, I

        hereby certify that this Motion is in compliance with the type form and volume

        requirements. This Motion was prepared using Microsoft Word 2016. It is

        proportionately spaced; uses a Roman-style, serif typeface (Times New Roman) of

        14-point; and contains 350 words exclusive of the material not counted under

        Rule 32(f) of the Federal Rules of Appellate Procedure.


         Dated: September 25, 2023          /s/ William W. Wilkins
                                            William W. Wilkins

                                            Counsel for Defendant-Appellant
                                            Russell Lucius Laffitte




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                                CERTIFICATE OF SERVICE

              I certify that on September 25, 2023, the foregoing filing was served on all

        counsel of record for the parties through the CM/ECF system.


         Dated: September 25, 2023         /s/ William W. Wilkins
                                           William W. Wilkins

                                           Counsel for Defendant-Appellant
                                           Russell Lucius Laffitte




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